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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


                                                    :
     UNITED STATES OF AMERICA,                      :
                                                    :
                                                    :        OPINION
                          v.                        :
                                                    :        No. 13-cr-00096 (WHW)
     LINDA YARLEQUE and FABIO MORENO                :
     VARGAS,                                        :
                                                    :
                                  Defendants.       :
                                                    :
                                                    :
                                                    :

 Walls, Senior District Judge

        Defendants Linda Yarleque (“Yarleque”) and Fabio Moreno Vargas (“Moreno”)

 (collectively, “Defendants”) move for judgment of acquittal pursuant to Federal Rule of Criminal

 Procedure 29(c) and for a new trial pursuant to Federal Rule of Criminal Procedure 33.1 For the

 reasons set forth herein, Defendants’ motions are denied.

                      FACTUAL AND PROCEDURAL BACKGROUND

         On February 5, 2013, the United States Government (the “Government”) obtained a two-

 count indictment against Defendants, husband and wife residing in Westwood, New Jersey. Defs’

 App’x at 1-18 (ECF No. 93). Count One charged that between or about July 2003 and about

 January 2007, Defendants conspired with each other and an individual named David Martin

 (referred to in the indictment as “Individual 1”) to commit wire fraud affecting financial



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  While initially only Moreno filed motions for judgment of acquittal and for a new trial, Yarleque
 subsequently joined in those motions and in the brief submitted by Moreno in support of those
 motions. See ECF Nos. 67, 96.
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 institutions by engaging in a mortgage fraud scheme involving the transmission of interstate wire

 communications in violation of 18 U.S.C. § 1349 (2006). Id. Count Two charged that Defendants

 committed bank fraud when they obtained a particular fraudulent mortgage loan from a federally

 insured financial institution, American Partners Bank, in December 2006, in violation of 18 U.S.C.

 §§ 1344, 2. Both Defendants pleaded “not guilty” to the indictment and trial began on November

 12, 2013. Id. On November 19, 2013, the Government rested its case and Moreno moved for a

 judgment of acquittal under Rule 29 (and Yarleque joined in that motion). Defs.’ Br. in Support of

 Mots. for J. of Acquital and New Trial (“Defs.’ Br.”) at 6 (ECF No. 93). The Court denied that

 motion. Id. On November 21, 2013, the jury found both Defendants guilty on both counts. Id. On

 December 2, 2013, Moreno filed motions for judgment of acquittal and for a new trial, which

 Yarleque subsequently joined. See ECF Nos. 67, 96. Following the schedule established by the

 Court, which was extended for various reasons including the substitution of a new attorney for

 Moreno, Moreno submitted a brief in support of these motions (which Yarleque joined) on March

 14, 2014. ECF No. 93. The Government submitted its opposition on March 25, 2014. ECF No. 95.

                                          DISCUSSION

        Defendants move for (1) judgment of acquittal pursuant to Federal Rule of Criminal

 Procedure 29(c) and (2) a new trial pursuant to Federal Rule of Criminal Procedure 33. Defendants’

 motions are denied.

 I.     Defendants’ Motion for Judgment of Acquittal Under Federal Rule of Criminal
        Procedure 29(c)

        Defendants move under Federal Rule of Criminal Procedure 29(c) for a judgment of

 acquittal, acknowledging that the Court denied an identical motion made at the close of evidence.

 Defs.’ Br. at 24-25. Defendants argue that no rational juror could have convicted them based on

 the evidence presented at trial, and in particular that the Government failed to introduce evidence


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 from which the jury could have concluded, beyond a reasonable doubt, that Defendants acted

 knowingly and with fraudulent intent when they made false statements to the mortgage lenders.

        The Court’s duty in considering a motion for judgment of acquittal under Rule 29 is to

 determine “whether, after viewing the evidence in a light most favorable to the prosecution, any

 rational trier of fact could have found the essential elements of the crime beyond a reasonable

 doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979). “The burden on a defendant who raises a

 challenge to the sufficiency of the evidence is extremely high.” United States v. Lore, 430 F.3d

 190, 203 (3d Cir. 2005) (internal citation omitted). In considering a motion for a judgment of

 acquittal, “a court ‘must be ever vigilant in the context of Fed. R. Crim. 29 not to usurp the role of

 the jury by weighing credibility and assigning weight to the evidence, or by substituting its

 judgment for that of the jury.’” United States v. Flores, 454 F.3d 149, 154 (3d Cir. 2006) (quoting

 United States v. Brodie, 403 F.3d 123, 133 (3d Cir. 2005)). Instead, the Court “must view the

 evidence and the inferences logically deducible therefrom in the light most favorable to the

 government,” United States v. McNeill, 887 F.2d 448, 450 (3d Cir. 1989), and must resolve all

 credibility issues in the government’s favor, see United States v. Scanzello, 832 F.2d 18, 21 (3d

 Cir. 1987). The Court must uphold the jury’s verdict as long as “any rational trier of fact could

 have found proof of guilt beyond a reasonable doubt based on the available evidence.” United

 States v. Claxton, 685 F.3d 300, 305 (3d Cir. 2012) (internal citation omitted).

        Defendants argue that relief under Rule 29(c) is necessary here because the Government

 failed to introduce evidence from which the jury could have concluded, beyond a reasonable doubt,

 that Defendants acted knowingly and with fraudulent intent when they made false statements to

 the mortgage lenders. In making this argument, Defendants contend that while the mortgage

 documents (called “1003s”) were signed by Moreno on the dates of the closings, the Government



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 failed to prove beyond a reasonable doubt that Moreno knew about the falsity of the documents.

 Defs.’ Br. at 30. Defendants contend that they had “every reason to trust” David Martin, who was

 a mortgage broker and C.P.A., and who was also related to Yarleque by marriage. Id. Defendants

 also point out that the Government “conceded” that David Martin was a “crooked mortgage

 broker.” Id. at 30. They argue that it was David Martin that controlled the preparation of the initial

 and final mortgage applications and the verbal verifications of employment that the lenders

 required, id. at 30-31, and that it was David Martin that “filled in all of the numbers,” and that the

 lies on the mortgage application forms “were put there by David Martin.” Id. at 31. Defendants

 also support their argument that they did not act with the requisite intent by stating that “mortgage

 closings are extremely complex” and that “few individuals actually thoroughly review the

 documents they sign at the closings . . . .” Id.

         Defendants also argue that this case is similar to United States v. Phillips, 731 F.3d 649

 (7th Cir. 2013), where the Seventh Circuit Court of Appeals reversed convictions for knowingly

 violating and conspiring to violate 18 U.S.C. § 1014, which criminalizes “knowingly mak[ing] any

 false statement . . . for the purpose of influencing in any way the action of” any specified private

 or public entity that provides, or regulates the provision of, financial services (including federally

 insured banks). In that case, the defendants—a couple who had secured a mortgage with help of a

 mortgage broker—were found guilty of knowingly making a false statement to the lender because

 they included their combined income on the loan application even though only one of them was

 listed on the application as a borrower. Id. at 650-52. The defendants appealed, arguing that

 testimony they intended to give that the broker had informed them that it was proper to include

 both defendants’ combined income on the loan application was improperly excluded by the district

 court. Id. The Seventh Circuit agreed and reversed, finding that, if believed, the testimony tended



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 to show that the statement on the loan application that overstated the borrower’s income was either

 not intended to be false, or, at a minimum, not intended to influence the lender. Id. Defendants

 argue that Phillips “highlights the need for the government to show that the loan statements made

 by the defendants Moreno and Yarleque had to be knowingly false in order to sustain the

 conviction.” Defs.’ Br. at 30.

        The Government responds to these arguments by stating that there was “copious” evidence

 introduced at trial from which a rational juror could find that the charged offense of conspiracy to

 commit wire fraud and bank fraud had been proven beyond a reasonable doubt. Gov’t Br. at 13.

 The Government contends that Defendants personally signed and initialed the fraudulent loan

 applications at least ten times (in contrast to Phillips, which involved a single fraudulent

 application), and that in many instances they signed or initialed immediately above or below the

 false statements on the application. Gov’t Br. at 13. More significantly, according to the

 Government, when the lenders called to verify the employment information and income

 information provided in the mortgage applications, those calls were routed through a virtual

 telephone number that Defendants set up in Moreno’s name and that of his purported business,

 and then directed to Defendants’ own personal cell phones. Id. at 13-14. The Government states

 that the individuals that answered these calls—“and the jury certainly was entitled to conclude

 from the evidence that it was the defendants themselves”—falsely verified Defendants’

 employment. Id. at 14.

        The Court agrees with the Government that given the “copious” evidence introduced at

 trial, and viewing that evidence “and the inferences logically deducible therefrom in the light most

 favorable to the government,” McNeill, 887 F.2d at 450, Defendants’ motion for judgment of

 acquittal must be denied. A great deal of evidence was introduced at trial that is quite probative of



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 Defendants’ state of mind at the time these crimes were committed. That evidence included the

 signed and initialed mortgage applications, the volume of fraudulent loans and documentation

 supporting those many loans, the telephonic verifications of employment that were forwarded to

 Defendants’ personal cell phones, and the testimony of Fatima Muller that Yarleque had informed

 her of the mortgage scheme and suggested that she copy it. See Defs.’ Br. at 25-27. The Court

 easily finds that a rational juror could have found that Defendants must have known of the false

 statements in the loan applications and therefore could have found proof of guilt beyond a

 reasonable doubt on both counts based on the available evidence. Defendants’ motion for judgment

 of acquittal under Federal Rule of Criminal Procedure 29(c) is denied.

 II.    Defendants’ Motion for a New Trial Under Federal Rule of Criminal Procedure 33

         Defendants move under Federal Rule of Criminal Procedure 33 for a new trial, arguing

 that the Court improperly restricted the scope of cross-examination and as a result violated

 Defendants’ Fifth and Sixth Amendment rights to confront witnesses against them and to present

 a defense. More specifically, Defendants argue that the Court erred when it allegedly prevented

 counsel from cross-examining lending representatives regarding “whether the lenders . . .

 were . . . corrupt, reckless, negligent, or even sloppy” in approving the loans fraudulently sought

 by Defendants. Defs.’ Br. at 42. Defendants argue that such cross-examination should have been

 permitted for two main reasons: first, to “impeach fully the credibility of David Martin,” who did

 not appear as a witness at trial, and second, to advance the defense that “the combination of

 Martin/Residential Mortgage/the mortgage lenders encouraged and ultimately led Martin to

 prepare the false documents without the defendants’ knowledge.” Defs.’ Br. at 42, 43-44.




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        Federal Rule of Criminal Procedure 33 establishes that a court “may vacate any judgment

 and grant a new trial if the interest of justice requires.” Because the interest of justice does not

 require a new trial, Defendants’ motion is denied.

        A. Defendants’ Sixth Amendment Cross-Examination Rights

        Defendants first argue that the Court violated their Sixth Amendment cross-examination

 rights when it prevented Defendants from cross-examining lending representatives on “whether

 the lenders . . . were . . . corrupt, reckless, negligent, or even sloppy” in approving the loans

 fraudulently sought by Defendants. Defs.’ Br. at 42.

        The Sixth Amendment to the U.S. Constitution gives a defendant the right to cross-examine

 the government’s witnesses in order to probe their credibility and potential bias. See, e.g., Davis

 v. Alaska, 415 U.S. 308, 316 (1974); Smith v. Illinois, 390 U.S. 129, 131 (1968); Pointer v. Texas,

 380 U.S. 400, 404 (1965). “However, a district court retains wide latitude insofar as the

 Confrontation Clause is concerned to impose reasonable limits on such cross-examination based

 on concerns about harassment, prejudice, confusion of the issues, the witness’ safety, or

 interrogation that is repetitive or only marginally relevant.” United States v. John-Baptiste, No.

 12-2301, 2014 WL 627685, at *18 (3d Cir. Feb. 19, 2004) (citation and punctuation omitted). The

 Confrontation Clause guarantees “an opportunity for effective cross-examination,” and not “cross-

 examination that is effective in whatever way, and to whatever extent, the defense might wish.”

 Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986) (internal citation omitted). The Third Circuit

 has rejected the claim that the Confrontation Clause endows a defendant with the unfettered ability

 to use the cross-examination of government witnesses as a means of presenting his or her defense

 to the jury. See United States v. Stadtmauer, 620 F.3d 238, 273 n.42 (3d Cir. 2010). Instead, the

 “mode and order of interrogating witnesses and presenting evidence” remains within the broad



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 discretion of the Court, under Federal Rule of Evidence 611(a), and that discretion enables the

 Court to place reasonable limits on cross-examination and to control the timing of the presentation

 of evidence to the jury. Id. at 272-73.

        Defendants argue that by limiting the cross-examination of the witnesses for the lenders,

 “the Court in a very real sense restricted the ability of the defense to impeach fully the credibility

 of David Martin—bearing in mind that the defense for both defendants was that David Martin

 falsified the loan applications on his own.” Defs.’ Br. at 42. According to Defendants, “[t]he more

 corrupt and/or reckless the lenders, the greater the probability that the corrupt David Martin would

 feel emboldened enough to falsify all of the loans without defendant’s knowledge.” Id. Defendants

 again rely on United States v. Phillips, 731 F.3d 649 (7th Cir. 2013) to support its argument that

 the Court erred when it disallowed cross-examination of the Government witnesses from the

 lending institutions (the “lenders’ witnesses”) on the topic of the negligence or recklessness of the

 lenders. Defendants argue that Phillips, where the district court improperly prevented defendants

 from presenting testimony about what their mortgage broker told them about the meaning of

 “borrower’s income” in the mortgage application, supports the proposition that Defendants in this

 case should have been allowed to cross-examine Government witnesses on the recklessness of the

 mortgage industry. Defs.’ Br. at 44.

        The Government responds by stating that the Court acted well within the bounds of the

 “wide latitude” it is afforded regarding cross-examination when it “on occasion limited—but never

 excluded entirely—lengthy and often redundant cross-examination about the lenders’

 underwriting practices and the ‘bundling’ and resale of mortgages in the secondary market.” Gov’t

 Br. at 16. The Government states that the Court “properly found this testimony to be both repetitive

 and marginally relevant, not to mention fraught with the capacity to confuse the issues at trial.” Id.



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 The Government also argues that Defendants’ arguments as to the Confrontation Clause have

 nothing to do with confronting the witness on the stand—which is the function of the Confrontation

 Clause—but rather are aimed at two other purposes: (1) “impeaching” David Martin, who was not

 a witness called in the case, and (2) advancing “not only the heart of the defense but basically the

 entire defense; i.e., that the combination of Martin/Residential Mortgage/the mortgage lenders

 encouraged and ultimately led Martin to prepare the false documents without the defendants’

 knowledge.” Gov’t Br. at 16-17. The Government states that there “is no Confrontation Clause

 right, however, to cross-examine one witness in order to ‘impeach’ someone else, especially if that

 second person is not a witness in the case at all.” Id. at 17. And because the Confrontation Clause

 guarantees only “an opportunity for effective cross-examination, and not “cross-examination that

 is effective in whatever way, and to whatever extent, the defense might wish,” the Government

 contends that Defendants argument that it was not able to present its whole defense through cross-

 examination of the lenders’ witnesses is misplaced. Van Arsdall, 475 U.S. at 679.

        The Government also contends that Phillips has no applicability to this case. It argues that

 while in Phillips there was testimony offered regarding statements made to the defendants at the

 time they signed the fraudulent loan applications (evidence that was offered in defendants’ own

 case, and not in the form of cross-examination of government witnesses), there was no such

 testimony offered in this case. Gov’t Br. at 18. The Government also contends that the type of

 testimony that Defendants did seek to elicit through cross-examination was largely permitted, not

 excluded, by the Court. Id. The Government suggests that “the occasional limits that the Court

 placed on the scope of defendants’ cross-examination were manifestly appropriate” because the

 subject matter that defendants attempted to and did pursue—“the lenders’ alleged lack of diligence

 in uncovering defendants’ lies, springing from their own desire to quickly sell the loans on the



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 secondary market”—was “grossly attenuated from the issue of defendants’ own knowledge and

 intent and thus minimally probative, if at all, of any fact in issue in the case.” Gov’t Br. at 18-19.

        The Court agrees with the Government that Defendants’ rights under the Sixth

 Amendment’s Confrontation Clause were not violated and it follows that a new trial is not

 warranted under Rule 33.

        As an initial matter, the Court did allow Defendants, to the extent it believed was

 appropriate, to question the lenders’ witnesses on the subject matter of underwriting standards (Tr.

 11/13/13 at 107; Tr. 11/19/13 at 86-88), sales of mortgage bundles in the secondary market (Tr.

 11/13/13 at 118; Tr. 11/14/13 at 66), “red flags” in Defendants’ loan applications that the lenders,

 according to the defense, should have further investigated (Tr. 11/14/13 at 106, 125-28; Tr.

 11/19/13 at 86-88), “collusion” between the lender and David Martin’s brokerage “to push through

 as many mortgages as possible” (11/14/13 at 111), and David Martin’s familiarity with the

 underwriting process such that it would be easier to deceive the lenders (Tr. 11/19/13 at 91-92).

 The Court also made clear to Defendants that it was perfectly willing to allow the defense to argue

 that the jury should conclude that, because of lender negligence or for other reasons, David Martin

 was able to falsify Defendants’ loan applications without their knowledge, but that it would be “up

 to [the defense] to demonstrate.” Tr. 11/18/13 at 95-99. As a result, Defendants arguments that the

 Court prevented them from developing their complete defense is without merit. The Court

 permitted questioning on cross-examination to the extent it thought relevant and appropriate, but

 when such cross-examination became repetitive, cumulative, irrelevant, prejudicial, or aimed at

 jury nullification, it sustained the Government’s objections to allowing such questioning. Such

 determinations are well within this Court’s “wide latitude” to impose “reasonable limits” on cross-

 examination. John-Baptiste, 2014 WL 627685, at *18.



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          The Court also finds no merit to Defendants’ argument that their Confrontation Clause

 rights were violated because they should have been permitted to further cross-examine the lenders’

 witnesses in order to “impeach” David Martin. The Confrontation Clause guarantees a defendant

 the right to demand the physical presence of a declarant and an opportunity to cross-examine him

 or her. See Davis, 415 U.S. at 315-16. It does not guarantee the right to cross-examine one witness

 in order to “impeach” someone else. See United States v. Burton, 937 F.2d 324, 328-29 (7th Cir.

 1991).

          Finally, the Court agrees with the Government that the holding in Phillips is off target. In

 Phillips, the testimony that was improperly excluded was testimony offered by defendants

 regarding statements made to the defendants at the time they signed the fraudulent loan

 applications (evidence that was offered in defendants’ own case, and not in the form of cross-

 examination of government witnesses, in order to prove that the broker’s lie had caused them to

 believe that their statement in their loan application was true). There was no analogous testimony

 offered in this case.

          B. Defendants’ Right to Present a Defense

          Defendants also support their request for a new trial by arguing that they were precluded

 from presenting a meaningful defense in their trial in violation of the United States Supreme

 Court’s holding in Holmes v. South Carolina that a criminal defendant is reasonably entitled to “a

 meaningful opportunity to present a complete defense.” 547 U.S. 319, 324 (2006). Defendants

 argue that because they were not permitted to cross-examine the lenders’ witnesses about “whether

 the lenders . . . were . . . corrupt, reckless, negligent, or even sloppy” in approving the loans

 fraudulently sought by Defendants,” Defs.’ Br. at 42, they were not able to fully advance the

 defense that “the combination of Martin/Residential Mortgage/the mortgage lenders encouraged



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 and ultimately led Martin to prepare the false documents without the defendants’ knowledge,” id.

 at 43-44.

         The Government responds by stating that whether such a claim is analyzed under the

 Compulsory Process clause of the Sixth Amendment or the Due Process clause of the Fifth

 Amendment, such a claim requires defendant to show “[f]irst, that he was deprived of the

 opportunity to present evidence in his favor; second, that the excluded testimony would have been

 material and favorable to his defense; and third, that the deprivation was arbitrary or

 disproportionate to any legitimate evidentiary or procedural purpose.” Gov’t of the Virgin Islands

 v. Mills, 956 F.2d 443, 446 (3d Cir. 1992). The Government argues that Defendants cannot meet

 this standard because they were not “deprived” of the opportunity to present evidence that they

 sought to introduce, any such evidence was neither “material” nor particularly “favorable” to their

 defense given its attenuation, and the limits the Court imposed were not “arbitrary or

 disproportionate to any legitimate evidentiary or procedural purpose.” Gov’t Br. at 19-20. The

 Government argues that if Defendants wanted to put on a case, they could have put on a case. They

 could have called witnesses, including themselves and David Martin, or persisted in calling an

 expert witness to testify about lending practices and mortgage brokers.2 The Government

 recognizes that Defendants chose not to do so, as was their right under the Fifth Amendment, but

 argues that not doing so was their own choice and not the result of any “deprivation” by the Court.

 Id. at 20.

         The Court disagrees with Defendants that they were precluded from presenting a

 meaningful defense at trial. Again, the Court did allow Defendants to present their defense theory



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  Defendants initially indicated their plan to call such an expert witness, which the Government
 objected to. Defendants withdrew the expert before the Court ever ruled on whether the evidence
 would be admitted. See Tr. 11/19/13 at 3.
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 when it allowed them to question the lenders’ witnesses on the subject matter of underwriting

 standards (Tr. 11/13/13 at 107; Tr. 11/19/13 at 86-88), sales of mortgage bundles in the secondary

 market (Tr. 11/13/13 at 118; Tr. 11/14/13 at 66), “red flags” in Defendants’ loan applications that

 the lenders, according to the defense, should have further investigated (Tr. 11/14/13 at 106, 125-

 28; Tr. 11/19/13 at 86-88), “collusion” between the lender and David Martin’s brokerage “to push

 through as many mortgages as possible” (11/14/13 at 111), and David Martin’s familiarity with

 the underwriting process such that it would be easier to deceive the lenders (Tr. 11/19/13 at 91-

 92). The Court also made clear to Defendants that it was willing to allow the defense to argue that

 the jury should conclude that, because of lender negligence or for other reasons, David Martin was

 able to falsify Defendants’ loan applications without their knowledge, but that it would be “up to

 [the defense] to demonstrate.” Tr. 11/18/13 at 95-99. The Court did not “deprive” Defendants of

 the opportunity to present evidence in their favor, but rather only restricted cross-examination to

 the extent it was repetitive, cumulative, irrelevant, prejudicial, or aimed at jury nullification. Such

 restrictions were not “arbitrary or disproportionate to any legitimate evidentiary or procedural

 purpose,” Mills, 956 F.2d at 446, but were necessary in light of the Federal Rules of Evidence.

                                           CONCLUSION

        Defendants’ motions are denied. An appropriate order follows.



 Date: April 14, 2014



                                                                /s/ William H. Walls
                                                                United States Senior District Judge




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